




NO. 07-03-0253-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL E



JUNE 11, 2003

______________________________



EDWARD SANCHEZ HINAJAS AKA EDWARD SANCHEZ

HINOJOSA AKA EDWARD SANCHEZ HINOJOS,



Appellant



v.



THE STATE OF TEXAS, 



Appellee

_________________________________



FROM THE 320
TH
 DISTRICT COURT OF POTTER COUNTY;



NO. 46,043-D; HON. DON EMERSON, PRESIDING

_______________________________



DISMISSAL 

_______________________________ 

Before QUINN and REAVIS, JJ., and BOYD, S.J.
(footnote: 1)
	Appellant, Edward Sanchez Hinajas, appeals his conviction for Aggravated Assault on a Public Servant/Enhanced. &nbsp;We dismiss the proceeding for lack of jurisdiction. 

The judgment indicates that sentence was imposed on March 13, 2003. &nbsp;Appellant then filed a document purporting to be a notice of appeal on May 22, 2003. &nbsp;No motion for new trial was filed. &nbsp;&nbsp;

To be timely, a notice of appeal must be filed within 30 days after the sentence is imposed or suspended in open court or within 90 days after that date if a motion for new trial is filed. &nbsp;
Tex. R. App. P
. 26.2(a). &nbsp;Thus, appellant's notice of appeal was due to be filed on or about April 14, 2003, but was not filed until May 22, 2003. &nbsp;Furthermore, he did not move for an extension of the deadline.

A timely filed notice of appeal is essential to invoke our appellate jurisdiction. &nbsp;
Olivo v. State
, 918 S.W.2d 519, 522 (Tex. Crim. App. 1996). &nbsp;If the notice is not timely, then the court of appeals can take no action other than to dismiss the proceeding. &nbsp;
Id
. at 523. &nbsp;Because appellant's notice of appeal was untimely filed, we have no jurisdiction to consider the appeal. 

Accordingly, the appeal is dismissed. 

Per Curiam 

Do not publish. 

FOOTNOTES
1:John T. Boyd, Chief Justice (Ret.), Seventh Court of Appeals, sitting by assignment. &nbsp;Tex. Gov’t Code Ann. §75.002(a)(1) (Vernon Supp. 2003). 




